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James:        This is your career path.

Eric:         Yeah, crash and burn.

James:        Yeah.

Eric:         Gets shot. No, it's okay. You ready?

James:        Yep.

Eric:         Okay. So Brittany, tell us who you are and how you met. Just tell me the story, man.
              How did you meet? And you're going to talk to me, you guys. How did you meet James?
              Like, just give me the story.

Brittany:     So he was a friend of my sisters. And-

Eric:         When did you meet James? Sorry, when you try and talk about people, say [crosstalk]-

James:        You can say the strip club and stuff.

Brittany:     Why?

James:        You can say just the whole deal.

Brittany:     You want me to tell you your side of the story, is that why I'm here?

James:        I was your sister's sugar daddy for a while. Tell them truth.

Brittany:     No. No.

James:        All right.

Brittany:     No. So the whole point is, he wants to do all this stuff, but there has to be one subtle
              parent for [inaudible]. And we talked about that.

James:        You're talking to him.

Brittany:     I know, but I'm just saying.

James:        Okay that's fine. Go ahead.

Brittany:     Okay. So James was my sister's friend. He ran strip clubs. She was a bartender at the
              entertainment clubs. Anyways, long story short, they hung out. They would go out
              drinking and stuff. My sister brought me with her a couple of times, and so I met James.
              And then, yeah. So that's how I met him.




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Eric:         And was your sister working at a strip club and was she a dancer? Just tell me a little bit
              about that. And what was the [crosstalk]-

Brittany:     She was bartending.

Eric:         And say, "My sister."

Brittany:     Yeah. My sister was bartending. Mm-hmm (affirmative).

Eric:         And were you at all... Or hold on. And when did you first meet James? How long have
              you been with James? And you can say, "I've been with James."

Brittany:     Probably since 2012.

Eric:         You have to say, "I've been with James."

Brittany:     I've been with James probably since 2012, maybe. I was 22. And I'm 30 now, so.

Eric:         And do you know anything about, can you tell me anything about James' history with
              Joe, like when James and Joe first met? How long have they known each other
              [crosstalk]-

Brittany:     Well, they have two histories.

Eric:         Say Joe and James.

Brittany:     Joe and James have two histories. They have one whenever they were younger. He's
              known him since him and his brother were alive, right? Joe's brother? Or no?

James:        No, after that.

Brittany:     After. Anyways, he has a past history with Joe and then he has the recent one that was
              whenever we moved to Oklahoma, in Ringling, is when they got reacquainted with each
              other during that time. So I would say they have two histories.

James:        Yeah. I mean, I've known Joe a span of about 20 years. Well, actually I think I knew Joe
              when he owned a pet shop in Arlington. That's the first time I met him. And then I lost
              contact with him over the years. And then we met back up in 2017.

Eric:         What was your relationship based on? Obviously your mutual interest in animals, but
              what animals in particular? Just say, "Joe and I connected because of..."

James:        Yeah. Joe and I connected over, we both liked big cats. So he was a big cat enthusiast, so
              was I, and-

Brittany:     We took our son to his park just to see animals and stuff, basically. So they got
              reacquainted and everything.

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Eric:         And when did you first meet Joe, Brittany? Tell me about that. What did you think about
              him. When I first met Joe...

Brittany:     When I first met Joe, he seemed like a decent human being. I mean, he was very
              outgoing, had a lot of personality. I didn't have really bad instincts about him.

Eric:         And what sort of business was James involved in when you met him? I mean, was he in
              the strip club business then, or just tell me a little bit about the business James was in
              and what you thought about it. Just tell me the shit.

Brittany:     So basically James did run strip clubs. I don't know exactly in detail exactly what he did,
              but I do know that he managed them, if he didn't own them. I'm not really sure. But I
              honestly don't judge, because like I said, my sister bar tended in several places. I don't
              hate strip clubs, if that's where it was at. I mean, I enjoy them myself so.

Eric:         No, I just want to be real. So just tell me, give me your version of [inaudible] Brittany.

James:        Well, I met Brittany through her sister. Her sister bar tended and stuff with me. And we
              were out having drinks one night, me and her sister, and then Brittany came with her
              fiance at the time, and we were having drinks. And I think we started talking from that
              point on.

Eric:         Was it love at first sight? Just tell me a little bit [crosstalk]-

James:        It's been a long, miserable eight years.

Eric:         How did you pull her away from... Say that.

Brittany:     James didn't pull me away from anybody.

James:        Oh. It was my charm.

Eric:         And what about James, explain the credit card business. Everyone always talks about
              your credit card business.

Brittany:     He fixes credit, that's all I know.

James:        Yeah. I fixed credit for a lot of years, I know the loopholes in the credit game. People
              would always come to me to get their credit fixed. To this day, I still help people fix their
              credit.

Eric:         And how do you know how to do that? I don't know the first thing about that. I used to
              have shitty credit, but I've always wanted to do that.

James:        I used to associate with a friend of mine that used to work for one of the credit card
              company, Experian.



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Brittany:     James likes to argue with people too, so he can argue all day.

James:        And fixing credit is more of an argument. So you basically argue until the things are
              removed. And I got good at it and I fixed probably thousands of people's credit over the
              years. Thousands, probably.

Eric:         And when did you first meet Jeff Lowe, James? And tell me that, maybe Brittany, you
              weigh in.

Eric:         Eric, can I readjust you just real quick?

Eric:         You want to go back?

Eric:         Yeah, I want him to move, move [crosstalk].

James:        Didn't we take Cash out there, when we met Jeff Lowe?

Brittany:     That was the time I met him. And yeah, Cash was there, I have pictures of Cash out
              there. I don't think Jessica wants to [crosstalk]-

James:        They're not going to say her name or nothing.

Brittany:     But if they know me, they're going to know I only have one.

James:        We're not saying her...

Brittany:     [inaudible] she's a stripper too.

James:        Everybody knows she's previous, everybody knows-

Brittany:     Yeah, but she's becoming a nurse.

James:        Oh, I know. I know. Yeah. I'll tell her. Okay. So the first time I met Jeff Lowe?

Eric:         Wait, hold on. Hold on.

Eric:         Tell me when you're ready.

Eric:         All right. Yeah, okay.

James:        Okay. So the first time I met Jeff Lowe, we took our son to the park because he loves
              animals too. And I knew Joe already, so we kind of rekindled our relationship or
              whatever. And Jeff Lowe was like, "Hey, I want to introduce you to Jeff Lowe." He was
              standing right on the end of Joe's office on the deck. And he's like, "Hey, this is Jeff
              Lowe." And I said, "Hey, I'm James Garretson." And then he started talking about, he
              owns a Ferrari and if I ever wanted to go to his house in the Dominican, I can use it



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              anytime I wanted to. And just talking to this big game, like I was supposed to be
              impressed, you know?

Brittany:     hE would advertise about this house that was up for sale on a website and say that's his
              house, he just had to sell it in between his divorce with his wife or something like that.
              But he would show some type of house on a website.

Eric:         And what were your first impressions of Jeff Lowe, Brittany? Was he a rich guy, was he...

Brittany:     No, I'm not saying-

Eric:         And say, "My first impression of Jeff Lowe."

Brittany:     My first impression of Jeff Lowe, just I can tell he was bullshitter, complete bullshitter.
              But I mean...

Eric:         You've got a pretty good bullshit detector.

Brittany:     I would hope so, because-

Eric:         But how did you know that? Like he had a Ferrari...

Brittany:     Just the way that he presented himself. It's not about what he had or what he was
              flaunting, it's just the way he would talk. It was always about him or what he has. If you
              brought up a conversation, he always had to one up you or compare what he has
              compared to you, type of thing.

James:        He always had to tell, the first thing is, I drive a Ferrari. Ferrari hat, all the jewelry and
              stuff. And he would just go right into how great he was. And then Joe would call him the
              godfather, because Joe was under the impression this guy had more money than God.
              So he called him the godfather. And come to find out he didn't have any money, but he
              would always tell me about all these liquidations, this liquidation chain that he owns in
              Florida, in South Carolina. And he'd always tell me that whenever he sells it, he's going
              to get $13 million, but his wife is stopping him from getting it because they were in a
              divorce. And he blamed everything on his ex-wife.

Eric:         Did you ever think about going into business with Jeff or were you ever in business with
              Jeff?

James:        Yeah no, what he did is he would tell me how well he did in the liquidation industry. So
              it was like, all right. So I tried it out. I bought a truckload of merchandise, supposedly
              $160,000 worth of merchandise I was going to buy for $20,000. So I wired him $20,000.
              And this truck showed up at my house, and it was a load of broken toasters. None of
              them work. I tried to sell what I could and made about 1500 bucks on a $20,000
              investment.




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Brittany:     There was one prior to that, we went in with him and Joe in that they were going to get
              this big tent and sell everything underneath the tent and split the profit, that was kind
              of before then. So that's his way of persuading us that he can make it work. But the
              money that we sent him for our own ended up being all returned, broken stuff. So in the
              end, once we figured out how to do the game and buy truckloads ourselves, we realized
              that the $20,000 we wired him for that truck, it was basically like a $1,500 auctioned off
              load. To get it transported to us cost more than the actual load.

James:        Oh, it was right around Christmas. Christmas time, Joe and Jeff was like, "Hey, if you
              loan me $10,000, I'm going to buy this load and we're going to sell it at Christmas in
              front of the zoo under a tent." So I was like, "Okay, no problem." And I don't know what
              they blamed on it, but I got no money back. Joe was complaining about a water bill. He
              had a $5,000 water bill. He had always complained about having $10,000 electric bills,
              $5,000 water bills.

Brittany:     So in reality, they were conning people together.

James:        Yeah, they were just conning people out of money.

Eric:         So Jeff was good at conning everybody, because he got this guy, Joe [inaudible] from
              [Beaufort], North Carolina to do the drive-in theater next door but it wasn't even his
              land, it was the Swami [inaudible] land or something. And it's like, why was it... Jeff
              Lowe was probably pretty good at convincing people. I mean, Joe obviously thought he
              had money, otherwise Joe wouldn't have-

Brittany:     But Joe was also desperate not to lose everything too though.

Eric:         So explain that, why did Joe go into business with Jeff Lowe or sell him a zoo?

Brittany:     Well, I don't know the details, honestly. I just know that it was either... I really don't
              know the details.

James:        So basically Jeff Lowe conned a con and he outsmarted Joe. And he brought him out to
              Colorado, showed him this huge house with a pool inside, because Jeff would always
              say, "You know, I have a big pool with a pool inside..."

Brittany:     But why did Joe have to put it in someone else's name, is what he's asking.

James:        So Joe knew the end was coming with Carole Baskin lawsuit. He knew the end was
              coming.

Eric:         Why did Jeff Lowe move to Las Vegas, just tell me, what was the reason for that?

James:        To get Lauren-

Eric:         So just say, "Jeff Lowe..."



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James:        So Jeff Lowe moved to Vegas to get Lauren away from Joe, because Joe hated Lauren
              bad. And he wanted to get away from Joe. And Joe was just basically just sending money
              out to Vegas to keep them out there. Because Joe would always tell me, "I hope they
              don't come back. I hope they stay out there."

Eric:         Move the table over a little bit [inaudible].

Eric:         Let me just do one thing.

Brittany:     You're fine.

Eric:         I'm going to move this in to keep your faces out of the sun.

James:        Go ahead. Just a little bit?

Eric:         Yeah, that's good.

James:        All right.

Eric:         Is the sun shifting? Okay. Try not to lean back too much, but it's fine. You guys are doing
              good. It's just the sun's starting to do this, [inaudible]. Tell me when. But didn't you go
              to Vegas because also Vegas was more Jeff and Lauren's kind of town than Wynnewood,
              Oklahoma?

Eric:         Hold that thought.

Eric:         And he could do the cub petting and meet people through the cubs in the hotel rooms
              and all that, and it's more their style. And he could meet celebrities, he could meet girls.
              You can't do that with Wynnewood or [inaudible] Valley. So didn't Jeff and Lauren want
              to live in Vegas for other reasons? And say Jeff and Lauren also.

James:        Well, Jeff would say he was trying to pick a place to go. He wanted to go to Miami, then
              he wanted to go to Tampa. Then he kept researching the laws and he's like, "Well, I'll go
              out here to Vegas. There's a lot of money in Vegas. A lot of people, a lot of girls." And
              they wanted to get away from Joe, because Joe was a hard guy to deal with. I mean, Joe,
              he's not a nice guy. And so he was a hard guy to deal with. And basically, Joe just got out
              conned, and he handed the keys over to Jeff. And they had some problems, Joe wasn't
              sending enough money or whatever the case may be.

Brittany:     Well, Jeff did get in trouble down there. So it's not like he had to come back to rescue
              the park. It was basically, he could not operate in Vegas anymore.

Eric:         Why?

Brittany:     Because all the things he did down there with the cubs.

Eric:         Say that, say [inaudible].


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Brittany:     Well, I just know a few things. Like Jeff, he put tiger cub in a suitcase and was doing tiger
              cub pettings illegally without... What, he did not have a license down there?

James:        I don't think he had a city license and they're prohibited in certain areas. And there was
              a lady out there in Vegas, Susanna [inaudible], I guess, is who Joe claims basically ran
              Jeff out of town, was trying to get Jeff out of town because in one of the meetings that
              we had when I turned government informant or whatever, one of the meetings I had
              with Joe is, he was trying to solicitate somebody to burn her house down because she
              was causing a lot of problems for Jeff and Joe didn't want Jeff and Lauren back at the
              park. He wanted to control the money, the bank account, use a signature stamp and...

Eric:         I'll keep going. [inaudible].

Eric:         Yeah, just had to readjust them. You're good.

Eric:         Yeah, you kind of want to do them... Okay. Can you talk about how, you can talk about
              it, how Jeff got his house in Vegas?

Brittany:     Yeah. I mean, I helped Jeff rent a house in Vegas. No big deal.

Eric:         Why couldn't he rent his house himself?

James:        He couldn't, I think he had bad credit or whatever the case may be. He couldn't do it.
              And I helped him. I'd say to that.

Eric:         So why is Lauren with Jeff if Jeff doesn't really have all the money? He finds a young girl,
              Jeff pretended he was a rich guy, he couldn't even rent a house on his own in Vegas.
              What does Lauren see in Jeff? What's that-

James:        You know, to this day I have no clue.

Eric:         And say, "I don't understand what Lauren..."

James:        I don't understand what Lauren sees in Jeff. I mean, everything he's done he's failed at,
              and I don't know, what is he, almost 60 years old?

Eric:         What's your take?

Brittany:     I couldn't even tell you why Lauren's with him. She either is just young and has faith in
              him still, or they deserve each other.

Eric:         And everything he does crashes and burns, I mean, he's going to get kicked out of
              Thackerville, they're talking about leaving the country. I mean, this is bad.

Brittany:     I mean, but she's side-by-side with him throughout it all though. I mean, if you can't
              have Jeff without Lauren, you can't have Lauren without Jeff. So I really couldn't even
              tell you.


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James:        I actually think she might be the brains of the operation. And that's kind of what
              [inaudible] thinks too.

Eric:         So you never were in business with Jeff Lowe?

James:        No.

Eric:         But you-

James:        Oh, well let me back that up. So I was kind of in business with Joe and Jeff on a pizza
              joint where I got screwed out of that too. So technically I was in business with both of
              them, mostly Joe, but I guess Joe gave Jeff a third of it too.

Eric:         What happened?

James:        Joe kept all the money and screwed everybody. He even screwed Jeff.

Eric:         Why does Joe just-

Eric:         Want to do the last change quick?

Eric:         Yeah, yeah.

Eric:         Okay. Hold on, give me one second.

Eric:         Yeah, could you do one of those [inaudible].

Eric:         Yeah, I can do that.

James:        Did you ever eat the pizza?

Eric:         I ate the burger...

James:        No, from the burger joint?

Eric:         I ate the burger [crosstalk]-

Brittany:     Don't lie, you've done it too.

James:        I did.

Brittany:     He's done it too.

Eric:         I went to Joe's restaurant, not knowing it was-

James:        I ate the burger. I was wondering how they could do two pounds of meat for $5.


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Eric:          Yeah, well.

Brittany:      There you go.

Eric:          I thought Joe would out-con everybody, but I guess Jeff Lowe out-conned Joe.

James:         Yeah.

Brittany:      Well, Joe was desperate too though. I think if he didn't have any of those issues, none of
               this would even happen.

Eric:          What happened to Joe and Jeff when Jeff came back to Oklahoma? What created the
               giant fight? And then walk me through when, like when did you start getting involved?
               And how did that feel for both of you, making the decision to work with the feds?

James:         So I don't know what the real falling out was, because Jeff Lowe, when he was in Vegas,
               he wasn't worried about Joe's bank accounts and he wasn't worried about Joe scams.
               He only worried when he came back. I think he was just trying to get Joe out of there so
               he could have all the money. But you got to understand that Jeff Lowe already owned
               the park. So it was his money. And then he made excuses to the signature stamp. And
               Joe's used Jeff Lowe's signature stamp for years already at that point, for a couple of
               years already at that point. So I think he just wanted Joe out.

Brittany:      Well, in my memory, I do remember when Jeff was basically confronted by one of the
               FWC officers, whatever you call them, that once he realized that they were going to take
               down Joe, that's when everything escalated and he had more confidence and
               advertising to him yelling online at Joe, kind of attacking him at that point. Because he
               knew, "Okay, well, at some point he's going to leave. So I might as well make it seem like
               I don't know anything that's going on." He had to play the innocent party.

Eric:          So who knew about, so tell me the chronology of when you guys got involved and how
               you got involved in just being an undercover informant, and maybe even when did
               Brittany hear the plot from Jeff Lowe? Give me the story as if you're telling me the story,
               the two of you.

James:         I'm trying to think.

Brittany:      Which plot?

Eric:          The murder for hire plot, and the feds really getting [crosstalk]... Go ahead.

Brittany:      So this is actually, whenever I heard talking about Carol Baskin, this is I think either the
               first time or the second time I met Jeff, they had that little office when you first walk in
               there. So basically, in my memory, Jeff's computer was when you first entered, then
               there was another desk. Then there was a filing cabinets or whatever else that kind of
               blocked Joe's computer. He had like a little cubby over there, right? So the subject came
               up because Jeff was talking about it. Well, Jeff was Google Earthing her property and the


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               best angles, the best sidewalks, her route of where she rides her bicycle. So you got Jeff
               and Lauren talking about that. Me and James were just standing there listening. And I
               assume it's all humor, you know what I mean? Because I don't think he has the
               confidence to even do that. Well, Joe is actually in his little cubicle area, making phone
               calls, barely having an input in the conversation unless Jeff was asking him questions, or
               you know when someone jokes and laughs about what they're talking about and then
               it's like, "Oh, what do you think, Joe?" So really, who instigated that whole situation was
               Jeff.

Eric:          [crosstalk] what whole situation, the murder for hire plot.

Brittany:      The murder for hire plot.

Eric:          Say that again. The person who instigated the murder for hire plot...

Brittany:      I feel in reality that Jeff Lowe was the one that instigated the murder for hire plot,
               because whenever Joe was in that "conversation," in quotation marks, he was not even
               literally in the room if you really think about it, he was just being brought into the
               conversation as he was making other phone calls, taking care of whatever he had to
               take care of. Doesn't mean Joe's innocent, but I just don't believe that he set up the
               whole thing by himself, if that. So just from what I've seen with my own eyes,

James:         That's true. I mean, Joe was in the back, he wasn't participating in the conversation. Jeff
               Lowe was showing us all the maps and the riding trails, and all that came out of Jeff
               Lowe's mouth and not Joe's. That's correct.

Eric:          Can you say that, just one more line, that Jeff Lowe, when you walked in... And was it
               2017, roughly? 2016?

James:         17. Was it 16 or 17?

Eric:          Just say that Jeff Lowe was researching, not her, but Carole Baskin's bike routes. If you
               could say that.

Brittany:      Yeah. You know Google Earth? I'm not quite sure what year it was though, that's the
               thing.

James:         16 or 17. I don't know.

Brittany:      So in 2016 or 17, whenever I went into the office, I did see Jeff Lowe and Lauren at their
               computer. They were Google Earthing Carol Baskin's property, and basically showing us
               her bike route and bike path. And I don't really know why he was showing us that, he's
               the one that brought up the conversation. We were just standing there, but he was the
               one basically showing us the best positions, best places where to do it at.

Eric:          Why were you not called as a witness, Brittany? Why did it-



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Brittany:      I don't know.

Eric:          Can you say, "The federal government never called me as a witness?"

Brittany:      The federal government never called me as a witness. I don't know why. I mean, I had
               spoken to them. I've met up when they had lunches with James, maybe-

                                       PART 1 OF 4 ENDS [00:24:04]

Brittany:      I've met up when they had lunches with James, maybe once or... I know for sure, two
               times, maybe more. I'm not too sure. [crosstalk] I didn't know how serious it was until it
               actually hit the fans.

Eric:          When did you realize this was really serious, that Joe... that it wasn't just a joke? And
               when did you start getting tied out? When did the Feds up to you to make the deal or
               whatever? What happened?

James:         Shortly after that meeting is when the Feds contacted me.

Eric:          Shortly after what meeting?

James:         Shortly after the meeting that we had, where it was me, Jeff Lowe, Brittany and Joe was
               in the back office. The Feds contacted me because when Lowe came back from Vegas...
               Well, yeah, when Lowe came back from Vegas, that's when we met and he wanted me
               to try to sell the part that he legally owned to Carole Baskin. And then instead of Carole
               call me back, Fish and Wildlife called me back.

Eric:          And then, how did you get wrapped up into a board? Tell me.

Brittany:      They were "monorint", "monor"... What is it?

James:         Monitoring.

Brittany:      Monitoring her [crosstalk] phone calls. The government was monitoring her phone calls.

Eric:          Whose calls?

Brittany:      Carole Baskin.

Eric:          Sorry, say that again. The government was monitoring...

Brittany:      The government was "monor"...

Eric:          It's all right. [crosstalk] We have to just be clear on... [crosstalk].

James:         Monitoring.



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Brittany:      Oh my god, okay. The government was "monorting". [crosstalk] I can't even speak. But it
               was a different word.

Eric:          The government was intercepting or monitoring... [crosstalk]

Brittany:      Actually, they were intercepting.

Eric:          Say it again.

Brittany:      So the government was intercepting Carole Baskin's phone calls. So whenever a area
               code showed up, that's within a couple of hours of Joe's location, which is when he
               would Oklahoma. James had the area code of Fort Worth or Dallas. I don't know which
               one it is. It automatically went to the government, and instead of her calling back that
               missed call, the government called him back.

Eric:          And then what happened? [inaudible]

Brittany:      And that's how they contacted him and kind of said, well, why would you call? He gave...
               James gave him his side of the story, that he was just intercepting for Jeff trying to sell
               the property to her. Well, they gave... the government, gave James their side of what...
               why they were the ones that called James back.

Eric:          And how did James get involved [crosstalk] on becoming a...

Speaker 1:     You could turn your head back just a little bit?

Brittany:      Yeah.

Eric:          How did James become an undercover informant? Obviously you were making a deal a
               little bit. And also you're just... Just tell me that whole story.

James:         Do you want me to say it or her?

Eric:          Either one.

Brittany:      You say it, [crosstalk] cause I don't know.

James:         All right. [crosstalk] So basically I've talked to a couple of people. I was out there talking
               to Erik Cowie and every time I'd go to the park, I would see more animals missing,
               empty cages and things. I was like, "something's going on here?" So I kind of knew about
               Joe's connection with Greg Woody and stuff, because we know what Greg Woody does,
               he parts out the animals and... and then I saw... And then Jeff Lowe would tell me... He
               would make calls to me telling me "Oh, Joe just killed another animal" or whatever the
               case may be. So I kind of got involved with the whole thing over the animals. I really
               wasn't worried about Carole Baskin is.




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Eric:          So just tell me how that went down. Like did the Feds just walk in through it? Did the
               USA [inaudible] meet with you and make a deal with you? Like how did they...

James:         Yeah, yeah. Yeah. So...

Eric:          What did they tell you to do?

James:         So shortly after the Fish and Wildlife agent calls back, from the call I made to Carole
               Baskin. So he contacted me and I was like, I wasn't sure he was a federal agent. I said,
               "can you prove who you are?" And he's like "yeah, I'm going to send you a mail... I'm
               going to send you an email from my government account, and I'm going to send you all
               my credentials." So he sent me those because I didn't know in this business, it's... there's
               a lot of lying and manipulating and stuff going on. So I wanted to make sure he was
               really a Fed. So after he checked out, he was like "well, I want to meet with you."

James:         So we met at Two Frogs in Ardmore, Oklahoma, and he kind of was telling me what was
               going on. And he's like "did Joe ever ask you to kill Carole Baskin? And I was like "he
               asked everybody." I said... I've told them from day one. And he asked everybody,
               everybody that walks in with a tattoo on their face, he'll ask "Hey, can you get down to
               Tampa and take care of this problem?" He asked everyone. And I said, "yeah, he asked,
               he asked everyone." And I've told the feds that he's like "well, we want to get him for all
               of this wild... This wildlife trafficking and all these Cubs sales and, whatever it..." it was
               about wildlife. And then it turned out to the murder for hire plot. Then they just really
               started pushing the murder for hire. And it was less on the wildlife, more on the murder
               for hire.

Eric:          How was scary was that, as a couple, for both of you to know that Jeff was going in
               undercover and having to film and record conversations, just tell me what that was like,
               how long have you gone for? [inaudible]

James:         It went on for several years. I mean, two or three years. [crosstalk] So that, this whole
               investigation, our being an informant went on for several years. And, I had to make all
               these meetings with these people and report back to so-and-so, and it was pretty
               stressful, and it just got really in depth because then a lot of pressure was put on me
               because they wanted Joe gone. Like they wanted to arrest Joe. [crosstalk]

Eric:          [crosstalk] Who wanted?

James:         The Feds.

Eric:          Say that: "the Feds..."

James:         The feds wanted Joe gone. They knew he did a lot of stuff that wasn't across the board.
               They knew about the murder for hire. And they started taking them more seriously
               whenever they... Joe started offering different people money to go kill Carole. And then
               it got real serious. And then the Feds were always like "well, let's see where... Let's see
               where he's at." So I'd have to send him a text and he texts me back and I send that to


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               the government and it was, it was pretty stressful. And they finally just went full out and
               they were just focusing nothing on but the murder for hire.

Brittany:      Now, did the Feds have any proof that Joe has ever given someone money besides
               whenever they made the plot happen? I mean, that's, I feel like it got serious. Not saying
               joking about killing someone is not serious, but I felt like it... The actual murder for hire
               got serious once the feds got involved in the reality.

Eric:          For a couple of years, that's stressful. Like how did you do it, Brittany? How hard was
               that on you guys? Like, [crosstalk] you got to be brave to go in. Like, what Joe said, "are
               you wearing a camera? Are you filming with your phone?" Like, did the government
               payed you guys?

Brittany:      No.

Eric:          So you just did this for [inaudible].

James:         I got a $413 from the government for my time, and my travel to the port, that's it, $413.
               And the government kept that because I owed a back... some back taxes and they
               applied that to my bag tag. So I actually never got anything. And I was never threatened
               by the government over the [inaudible] . Nobody ever threatened to jail me or...
               [Crosstalk]

Brittany:      Well, I remember James contemplated on what he should do. It was whenever they
               showed... didn't they show you proof that he was killing animals? Or... [crosstalk]

James:         Yeah, they pretty much...

Brittany:      That's whenever you had a guilty conscience that you should helped animals, but then it
               went to the murder for hire it kind of just defeated the whole purpose. You know what I
               mean?

Eric:          The government... c'mon, government's scary. So they could... [crosstalk].

James:         They are.

Eric:          So tell me how scary? We need a "People do what the government says", if you have a
               choice or not, doing it or doing it less. So tell me about that dilemma. Everyone was
               scared of the government Joe's case. That's why Noah testified for Joe. Everyone was
               like "no, I'm going to talk to the government", because anyone and everyone, I don't
               care who you are, practically, could have been tied into it, some way. They could have
               said "Oh, John Finlay, you're going to go to jail. So tell me how scary, and say "the
               government is scary".

James:         Yeah, the government is scary. I mean, they come at you and be in it's... They're you,
               they have unlimited resources. So a small guy like me, that's suffering to pay electric
               bills. If I got a government case on me, I would have to play it out because I don't have


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               the money to, to go to court and fight these... fight the government. Nobody does. And
               they are kind of scary and intimidating. And I've been in business for a while, so I've had
               problems with zoning departments and this and that, and it usually never ends well.

Eric:          So, back to... So what was it like... Back to Brittany and not ever asking Brittany to testify
               or to give a deposition, doesn't that break the Brady act? Can you tell me what that
               Brady act is?

James:         You'd have to have somebody else [crosstalk] explaining that.

Brittany:      Well, so basically if, what I believe, is if they get some...

Eric:          Say "who", not "they".

Brittany:      If any [crosstalk] type of law enforcement gets information...

Eric:          Sorry, start it again.

Brittany:      What I believe if the law enforcement has any information during any type of meeting,
               they should present it to any side of the case.[crosstalk 00:33:20] They should present it,
               themselves or to the defense. And I'm just, I think anybody they have spoken to should
               have been endured or whatever you want to call it, to hear the full story for everything.

Eric:          Why now is Jeff... is Matt Brian US Fish and Wildlife agent? Why did the US Fish and
               Wildlife agents at least charge Jeff and probably out level with any kind of crime? Just
               say, say that, set that up. That you think it's strange that you guys...

Brittany:      I have no idea. I don't work for the government so I couldn't even tell you.

Eric:          Do you think... do you have any thoughts on why the government...

James:         Yeah. I mean, I personally think the government should have charged the Hitman too. I
               mean, this guy allegedly was given money to go kill someone and he's still out in the
               streets. I thought that was total bullshit, in my opinion. After that, I thought... I was like
               "maybe they just sing along this guy out". It still goes through my mind. Joe did some
               evil things. Joe did one Carole dead, but it was a little harsh how it all played out.

Eric:          Who else do you think the government should have also included in that plot?

James:         The government could have charged John Rinky. John Rinky was keeping the illegal Cub
               books. The government knew that. He was doing all the paperwork and falsifying of the
               documents. They knew the veterinarian was doing a lot of illegal stuff in... The
               government always.. they would always say "well, we're going to get this veterinarian".
               They didn't do anything to her. She's still practicing medicine today. Erik Cowie was a
               participant in the murder of those tigers. He never came forward and they left him
               alone and he participated in it. He didn't report it to the Feds or to the authorities. So



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               that makes him guilty. And I think the whole case was done wrong. Joe is guilty of a lot
               of things. Joe needs to do time, but it's a little harsh when you let everybody else go.

Eric:          What about John Finlay, Jeff Lowe? How it... Just keep rolling. You said John, you said
               John Ricky, you said Erik Cowie.

James:         John Finlay traffic Cubs. He took money on him. He did all that stuff. He knew it was
               illegal for Joe. He didn't take checks. He took cash. He knew what he was doing was
               wrong. He was let totally off the hook. A lot of the associates that, you know, Joe sold
               Cubs to, they created crimes when they bought those animals. I don't... Until this date I
               haven't heard anybody charged for it.

Eric:          What about Jeff Lowe and Alan Glover?

James:         Yeah. And then Jeff Lowe and Alan Glover, I mean, they played a part in that, we were in
               meetings with them. Not with them, we were in a meeting with Lowe, with the murder
               for hire. Glover is a free man. It makes no sense to me, but who am I to tell the
               government who they can, who they should charge them, who they can.

Brittany:      The Government has people they got to speak to above them. And I don't know.

James:         I don't know. I think it was a lot of things were done wrong.

Brittany:      But James got brought into it on a different side of it. He thought he was there to... for
               the animals in reality, it all ended for something completely different.

James:         I mean, Joe was selling Cubs to anybody on the street that wanted to buy one. If you
               show Joe money and he wanted to make a music video, he was going to sell it. Okay. So
               it was all about Joe. There was nothing about animals. It was all about...

Brittany:      I feel like they could have, the government could have taken down Joe, just based off of
               what he did. There was so much evidence that they brought to trial. Why did they have
               to have the murder for hire, to take them really down? It makes no sense.

James:         Joe scam so many people out of money, assets. Joe's... The only way Joe could keep that
               park afloat, because that was a losing business venture, is by scamming. You couldn't
               charge admission and ever cover the cost of that place.

Eric:          When Jeff got involved with Joe, Jeff told me the same day... A bunch of people told me
               that Jeff bought... Joe kept saying he was going to die. Joe kept saying that he had all
               these diseases, he told Jeff "I'm going to die". I got... Jeff Lowe thought maybe Joe had
               AIDS because Brian, his previous husband, died of AIDS. So Jeff and Joe told Jeff that Joe
               had a big life insurance policy, a million dollar life. Do you think Jeff Lowe sort of secretly
               thought like "Oh, this is a good target." Instead of serenity sprigs "Joe, he's going to die.
               I'll get the heart. It's a way to get in. Very cheap." Just tell me, what do you think was
               going on at Jeff Lowe's head?



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James:         Yeah. Jeff Lowe always mentioned Joe's life insurance policies. He always talked about
               that. One or $2 million. And I don't think Jeff wanted the part. Jeff wanted a way to get
               Cubs all the time and to play with the girls and to be Mr. High-roller. That's what Jeff
               Lowe wanted to be. He didn't really care about animals.

Eric:          Do you thing that Jeff Lowe is aware that Joe may be terminally ill?

James:         No. Jeff Lowe joked about all the scams Joe have. Like he had his prostate removed. Joe
               actually had, I don't know if you know this or not, but Joe actually had a, in his house, he
               had a chair that looked like a doc, he had a little set, it looked like a doctor's room. And
               whenever he was getting his transfusions and stuff, Mark, his security guard, the ex-cop,
               would give him all these bags of fluid and they made it look like he was at a doctor's
               office, but he was really at his house.

Eric:          But why is the whole story of Joe, how they [inaudible] different diseases? Is that a way
               to raise money?

James:         Joe would have a...

James:         Jared, what time we got anything going out? Where's Patrick?

Speaker 1:     I think, tomorrow at 1:00h.

James:         Oh, okay.

Speaker 1:     [crosstalk].

James:         How is the sun?

Brittany:      The sun is like right above me right here.

Eric:          Yeah, we got to et totally under it. I would say if you back up for a bit... [inaudible]
               Because then at least you're under this. And you don't have to rinky-dinky.

Speaker 1:     I think it's going to keep coming over, but I think that's going to be our best.

James:         What are you doing?

Brittany:      Moving. [Crosstalk] Can I run to the restroom?

James:         Yeah, I got to go pee to.

James:         She took me down and ran me out of Florida. Oh yeah.

Brittany:      Hey, so the thing with my sister is she's on her way to becoming a nurse and I don't
               think she wants it to be publicized that she...



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James:         As a stripper?

Brittany:      Yeah. Okay.

Speaker 1:     [inaudible].

Brittany:      Okay. I just don't want her to feel like I... You're ready?

James:         Hey, you know my... What are you doing? Where y'all going next? Be in Florida for a
               while. Four hours.

Speaker 1:     All right, a title further.

James:         You now over, that way.

Brittany:      Such a grumpy person.

James:         That's my charm.

Brittany:      Yeah. An thinks he's better than everybody.

Eric:          I think we left off talking about Joe and his sicknesses. You would say like Jeff Lowe kind
               of thinking is different because Jeff said it wasn't that far. [inaudible]

James:         Joe wasn't sick.

Eric:          What?

James:         Joe wasn't sick.

Eric:          Yeah but he gave.. he [inaudible] He was to get money. That's what...

Brittany:      He's trying to get as he thinks that maybe Joe would have died eventually.

James:         We had more GoFundMe accounts than anybody in history, probably. You'd always have
               a GoFundMe account for something.

Eric:          Say, can you say Joe?

James:         Yeah. You mean, are you all ready?

Speaker 1:     Yeah. We're good.

James:         We're good. So yeah, Joe always claimed to be sick and he always had a go fund me
               account. The last one I was aware of was he had his colon taken out. And then before
               that he said all his organs shut down and he was having plastic surgery for his
               presidential photos or whatever the case may be.

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Brittany:      Joe had a pretty good photo for it though.

James:         Yeah.

Brittany:      All taped up. Like he just got out of surgery and everything. [crosstalk]

James:         Lot of Photoshop. A lot of Photoshop.

Eric:          So, who else back to you out... Who else did the government not talked to that they
               should have? What other people should have been witnesses for Joe? Who's Ashley
               Webster.

James:         She doesn't know who that is. Oh, she's [crosstalk].

Eric:          Say her name.

James:         Ashley Webster, I just heard about her after all this was over with. And she came
               forward with a lot of accusations that I don't know. She was never there when I was
               there. So I don't know she is, really.

Eric:          Because she was apparently the second person that notified Carole Baskin there was a
               murder for hire block. She was at the zoo short time. I've heard Jeff Lowe and Joe talking
               about killing Carole Baskin and Joe asked her, of course, "can you go take a vacation to
               Tampa? I'll give you 2000 bucks or put a bullet in your head." Can you tell me more
               about Ashley Webster?

James:         I don't know much about her. I do know she was the one that called and told Carole
               Baskin that Joe was trying to have her killed.

Eric:          Can you say Ashley Webster was the one?

James:         I was told Ashley Webster was the one that called Carol Baskin and started this whole
               investigation. And Howard turned around and called the FBI and then they put them in...
               And then the US Fish and Wildlife gets involved. I was told that she was the one.

Brittany:      There is paper that's going to be flying.

James:         Hey Jared, can you grab those papers?

Speaker 1:     Is that me?

Brittany:      No, [crosstalk] it's Patrick. He's sitting in his truck.

Speaker 1:     That's all right.




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Eric:          And so how did you two... How did you guys both decide to agree to do the undercover
               work for the Feds? What did you... Talk to me about that, Brittany? You, what did you
               feel about that? When the Feds finally said that you guys were [inaudible].

James:         You were never asked to do it.

Brittany:      Well, I personally was never asked to do anything, but I was in conversations.

James:         So Brittany went on a couple occasions when I had to meet the US Fish and Wildlife
               officer. And she was there on the original meeting when I did meet him. We had to talk
               about everything. The first meeting, Jeff Lowe shown us the bike paths. So Brittany was
               present when we were telling... when I was telling the Feds "this is what I learned, and
               this is what went on." And at that point, that's when he asked me and my Brittany, if I
               would cooperate with the government. And at that time, the fish and wildlife agents
               didn't even really know about the lemur or any of that stuff. So he would... We would go
               in there and Joe would say things, and that's when the case started building.

Brittany:      There were some times James would go in there and he would bring back the recordings
               and they would say "well, you have to specify". They couldn't tell him what to say, but
               they would try to...

James:         Guide me.

Brittany:      Yeah. Just basically getting the right things to save out of him.

James:         Not make me a part of the conspiracy where I can say "Hey, we will go take care of
               Carole Baskin", and things like that. [crosstalk]

Eric:          Joe really did hire someone to kill Carole Baskin? Can you just say, you think Joe,
               whatever...

James:         The Alan Glover stuff came after the federal agent that was introduced as a Hitman. I
               don't know where Joe got the idea to use Glover or Jeff told them "Hey, use this guy
               because this guy has a tear drop in his eye, and he's done this before." So Jeff Lowe told
               me that Alan Glovers killed somebody before. And I wasn't involved in that part of the
               Glover conspiracy. So I don't know how that all came about. If Jeff Lowe said "Oh, why
               don't you just use Allen Glover?" I don't know. I wasn't there in any of that.

Eric:          Then do you think Joe was really trying to kill Carole Baskin? Can you tell me...

James:         Oh yeah! Joe wanted Carole gone. Yeah. [crosstalk] A hundred percent.

Brittany:      But, would you really think he would have went through with it without being pressured
               by everybody saying you should do it whenever the government was trying to pressure?

James:         Yeah, he probably had some...



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                                      PART 2 OF 4 ENDS [00:48:04]

Brittany:      Whenever the government was trying to pressure-

James:         Yeah. He probably had some unneeded pressure, but.

Brittany:      Out of all the years that he's talked about asking everybody in the world, he never went
               through with it. And I believe if he really was going to do it, he would have never
               advertised it.

Eric:          Can you say that again? All the years that Joe asked people to kill Carole Baskin, he
               never went through with it. Can you say it again and say, "Joe had to kill Carl Baskin."

Brittany:      Well, my honest opinion, I feel like if he-

Eric:          Say Joe sorry. My honest opinion.

Brittany:      My honest opinion is Joe was telling everybody who walked through his buildings that
               go kill Carole Baskin. I don't know how to say it.

Eric:          Yeah. You said, for all the years that Joe asked people to kill Carole Baskin, he wouldn't
               have advertised it if he really wanted to kill her you said. But just say Joe wanted to kill
               Carole Baskin, so we know what you're talking about.

Eric:          What's your take on Joe? Did he really want to kill Carole Baskin?

Brittany:      I don't think it's okay for someone to advertise if they want to kill somebody. But I do
               believe that if he was truly going to do it on his own, without being pressured, he
               wouldn't have advertised to everybody that offering, you need to go kill Carole Baskin
               for me. I just, you wouldn't be that open about it if you're actually going to do it.

Eric:          Why did the undercover agent Matt Bryant tell me on the phone that he wished he had
               also gotten Jeff Lowe along with Joe. He thought, obviously they had their crosshairs on
               Joe more than anybody. But I think he also thought that Jeff Lowe was part of the
               conspiracy to kill Carole Baskin. Do you think justice is fair in this case? Just tell me what
               you think about Jeff Lowe's role in this, not Reinke and John Finlay and Eric Cowie, that
               that I get, but they were really working for Joe. You know what I mean? The money was
               really going to Joe. They were a part of it. But Joe was the leader.

James:         Yeah.

Eric:          But Jeff Lowe is different.

James:         But yeah, I mean, I think this case really wasn't fair because Jeff Lowe walks and I know
               some things that were said that makes it look like Jeff Lowe that set up Allen Glover to
               say these certain things. Like nobody knows if Allen Glover actually came to Florida and
               Jeff Lowe basically was drilling it into Allen Glover's head that, "No, you were in Florida."


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               So it looks to me like Jeff Lowe set up a lot of that storyline. To me, it does. But I don't
               know. But when do you hear of any crime being committed, a murder for hire, where
               the hit man walks, it's kind of crazy.

Brittany:      He took the money, Allen Glover. He may not have done the crime, but he still took the
               money.

James:         And even if people worked for Joe, like Reinke and all these people, they knew they
               were all still breaking the law. So, in my opinion, they're as guilty as Joe, because they
               knew this wasn't right. And they could have said no at any given time. So could have
               John Finlay. He could've said no. Reinke could've said no, but they just went along with
               everything that Joe did because he was the cult leader.

Eric:          Why did Jeff and Lauren get rule 11? It's effectively an immunity deal. Why did the
               government give Jeff Lowe what's called rule 11, which is basically anything you say to
               us, we can't hold it against you. Why do you think that?

James:         I have no idea. But don't have to be truthful under rule 11?

Eric:          And the role that you played, not Allen Glover, but with the undercover federal guy
               playing a hit man, did you have to go and initiate the hit man discussion with Joe, or
               how did that come to be? Just sort of walk me through how you set that up with the
               federal undercover.

James:         So basically Joe was wanting to hire somebody to kill Carole. So Joe, you could have
               brought Joe the mailman. And if you would've told Joe, "This is the guy," he would have
               started talking to the mailman.

Eric:          This is the guy what? Say it again. Say that-

James:         I'm trying. Okay. So hypothetical. Okay. So basically Joe wanted anybody to kill Carole.
               All right. So if you would've brought Joe, whoever, Joe would have started talking to
               him, Joe was real loose lipped. Joe, he made it obvious that he wanted Carole dead to
               everybody. I mean, I don't know how many people, he really asked to kill Carole Baskin.

Brittany:      Do you think he would have done it?

James:         I think given the right person, the right opportunity, I think Joe would have done it. But
               the Glover guy, every time I saw him, he was so drunk. I mean, he would probably just
               curl up in a bottle.

Eric:          So tell me about Allen Glover. Who is Allen Glover? And did he seem like a good
               candidate to pull off a hit?

James:         Okay. I personally knew nothing about Allen Glover. When all this things was over with, I
               learned that he was a long time employee of Jeff Lowe. I didn't know this going through
               all this.


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Eric:          Did you know anything about Jeff, I mean Joe and Allen's relationship?

James:         No, I knew nothing about it. All I knew was I saw Allen running the weed eater at Joe's
               place. And I saw him on several occasions.

Eric:          How often during this two years process of you being undercover did the Feds
               communicate with you and say, "During the two years I was undercover..." [inaudible]
               "During the two"-

James:         During the two years I was.

Eric:          Say during the two years.

James:         During the two years.

Eric:          Sorry, start again.

James:         Okay, go ahead.

Brittany:      Yeah, someone's squeaking.

James:         He's just pushing it.

Eric:          Okay, go ahead.

James:         So during the two years I was working with the Feds, it seemed like I talked to Feds
               every three or four days. Until Travis shot himself, then they laid off of Joe because they
               didn't want to make it look like they were just taking advantage of him during the death
               of his husband.

Brittany:      His grievance period.

James:         But I seen, after the death of Travis, I saw Joe a week and a half later having dinner with
               Dylan at Two Frogs.

Eric:          And did you ever feel that the Feds were pressuring you to get a conviction? Just talk to
               me about that. They must have been, because they must've been starting to get
               impatient. Tell me about the Feds.

James:         Yeah. They put a lot of pressure.

Eric:          And say the Feds.

James:         The Feds, they put a lot of pressure on me because they wanted this guy. They wanted
               this guy in jail. So there was a lot of pressure. There were some times that Joe didn't
               communicate back and forth and they would get it seems like a little bit irritated, but I
               only did what I could do.

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Eric:          Why did it take so long to get an indictment against Joe, for them to finally, what took
               so long?

James:         They had, I was-

Eric:          And say the Feds.

James:         So the Feds told me that they had to get John Finlay to flip first because John Finlay did
               all the trafficking deals. So once they got him to flip and then once they asked me if I
               could get Jeff Lowe to flip, then, from that point, it went relatively fast, but they couldn't
               do this without Jeff Lowe and without John Finlay. John Finlay was actually their key.

Eric:          Why did Joe finally leave the park? Did he start smelling that you were maybe. It's not
               over that flight with Dylan and Jeff Lowe, like, tell me about that whole time.

James:         No, somebody tipped Joe off and said, "Something's coming your way." I think it was Jeff
               Lowe because he would always-

Brittany:      Jeff was getting a lot more hostile because he knew that they were going after him.

James:         Yeah, yeah.

James:         And he had made all kinds of conversations. Like Jeff Lowe was threatening Joe with all
               this bank fraud and forgeries and all this stuff. And Jeff Lowe had already told Joe that
               he went on to the bank and he found all these forgery documents and he said, "You're
               going to jail, Joe."

James:         So Jeff Lowe probably scared him away because he was going to do all these other
               things to Joe with the signature stamp and all this other stuff.

Eric:          Can you set that up again by just saying, Joe really left the park not because of the fight
               with Dylan and Jeff but because Joe tipped him off that he was in trouble. Can you set
               that up? Like, "Joe really left the zoo." "When Joe went on the run."

James:         I don't know who tipped-

James:         Yeah.

Eric:          Well you can just say you think that when Joe went on the run it was because. say-

James:         When Joe went on the run, I, okay.

Eric:          Start again. Sorry.

James:         Okay. So when Joe went on the run, I think somebody tipped him off or maybe Lowe
               said, "Hey, trouble's coming." And that's when Joe started posting pictures, getting rid
               of animals. Within two days, he's dropping animals off wherever he could drop them off

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               at. And then he started posting pictures of him in Belize. And everybody knew he was in
               North Florida. And so Joe was wanting to go somewhere where they can't extradite him.
               And supposedly the Anne Patrick lady owned a house over there and she was going to
               get Joe out of the country.

Eric:          And did the Feds talk to you while Joe was on the run? Tell me about that. Did you-

James:         No.

Eric:          Did the Feds talk to you after Joe was arrested? Tell me about that.

James:         No, I saw it on TV.

Eric:          But did the feds talk to you after he was arrested, they must have prepared you for
               court, for trial.

James:         Yeah, yeah. So after Joe gets arrested, months later, they start calling me to prepare for
               trial and I get the subpoena and all that, but that was months and months later.

Eric:          And why weren't you called as a witness?

Eric:          I know we talked about that but just say the Feds never called you.

James:         He's talking to you.

Brittany:      Yeah.

Brittany:      The feds did not call me as a witness. I'm not sure why they didn't.

Eric:          Can you say that one more time for me. Okay.

Brittany:      The feds did not call me as a witness. I'm not sure why they didn't.

Eric:          Is that strange to you?

Brittany:      I mean, I guess it's strange, but at the same time, I really don't want to be involved in
               that whole dealing with the Feds.

Eric:          What's your female intuition about the whole thing. Who should be in jail? Who
               shouldn't be in jail? Is it Jeff Lowe and Allen Glover, did they get off scott-free? Just tell
               me the female intuition take on this whole story.

Brittany:      Well, my opinion is, I feel that there's a lot of guilty parties in there and a lot of people
               shouldn't have gotten off. If they had that much evidence piled up where it'd been a
               closed case, just when they present it. Why did everybody have to get free of everything
               besides Joe? It makes no sense to me, but I don't work for the government. I don't have
               to speak to anybody higher than me. I don't know. I just think it's a little weird.

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Eric:          Did James ever talk to you about his feelings about testifying in a trial, just how scary
               that was, just when that day came. So say-

Brittany:      Yeah.

Brittany:      James was nervous going to trial over the whole situation. I was there. I wasn't in the
               courtroom, but I was there in the waiting area. So, I'm not saying he was nervous for
               himself. He was just nervous about the whole situation. You don't know what's going to
               happen once it gets presented.

Eric:          Did James ever talk to you about his conversation with Joe's defense attorney with the
               prosecution before the trial? Tell me about Joe's defense attorney. What was his name?

James:         Bill something or other.

Eric:          Yeah Bill. I can't remember right now.

Eric:          But did you ever speak to Joe's defense attorney before the trial?

James:         I did.

Eric:          Why did-

James:         Well, I wanted to get out of the trial because I just, I saw it as just a one-sided deal and I
               basically did everything I could to try to stay out of court. But then I was told if I don't go
               to court, it's under a subpoena, I have to show up.

Brittany:      Yeah.

James:         Or I could be charged.

Eric:          Tell me you spoke to Joe's, say you spoke to Joe-

James:         Yeah. I spoke to Joe's attorney and we didn't really speak about anything. But yeah, he
               was like, "Well it's a little late in the game now." Because the court was already going
               on, but I wanted to get up there and plead the fifth and just be done with it. But.

Eric:          Do you believe Joe killed healthy tigers and say, yeah, Joe killed healthy tigers.

James:         Oh, Joe killed healthy tigers. Joe didn't care. It was about breeding. If they didn't breed,
               Joe would get rid of him because we'd always walk through the park and Joe would like,
               "I'm getting rid of this fucker, this fucker." And they're just costing me money. If they're
               not breeding, I don't want them. So yeah. Joe would kill anything. Joe had no sympathy
               for animals. It was just, I mean I had never seen Joe go out of his office and pet anything
               or give anything water. Joe didn't care. All Joe cared about was his music videos and
               running for office.



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Eric:          I have footage and we have footage of Joe killing a skunk, killing a cat, killing a chicken.
               He would just go out and shoot an animal on that farm.

James:         Yeah, he was a cruel human being.

Eric:          Do you think that government entrapped him? Do you think Joe was entrapped by the
               government?

James:         Y'all want to walk by? Sorry.

Eric:          You can walk through. Sorry.

Eric:          Do you think the government entrapped Joe? Just tell me about the way the
               government works.

James:         Yeah. I don't think the government entrapped Joe. I mean, Joe was loose-lipped on
               everything. I mean, as you can see, it's all in the transcripts and stuff. Joe was open in
               talking to anybody. I don't think there was any entrapment. Were things done screwed
               up? I think so. And that's probably going to make a few people mad, but I think they just
               wanted him and him only and everybody else gets a pass.

Eric:          How do you feel about Joe's sentence? Do you think Joe's going to die in prison?

James:         Oh yeah. He's going to die in prison.

Eric:          Say that.

James:         I think Joe is going to die in prison. I don't see him getting out.

Eric:          And this whole thing with this new lawyer that used to represent Carole Baskin's late
               husband, Don Lewis's family is now representing Joe, John Phillips. John Phillips, what
               does he have to work with to get an appeal? What evidence is there that would release
               Joe?

James:         Yeah.

Eric:          Just talk to me about John Phillips and say John Phillips, Joe's new lawyer.

James:         I might get a little harsh here. Okay.

Eric:          That's okay, go ahead.

James:         Okay. Okay. So with Joe's new lawyer, John Phillips. Okay. I did some research into him
               and stuff, just to see what's going on. He's a personal injury lawyer that likes publicity.
               And that's what he is. Everybody just wants the publicity and the limelight. But just like
               Eric Love was the same way you don't hear about him too much anymore. Francisco was
               a DWI lawyer.

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James:         If Joe really wanted to get a good lawyer, he needs to go hire one of the best criminal
               lawyers ever, or an appellate lawyer. But these guys are just around for the media circus
               to build their practices and build their own brands. And I know that from talking to
               them. Just like Eric Love, I mean, he's just out to build his brand.

Eric:          So does John Phillips, these guys always say they could shoot holes in the case. They
               have evidence, there's information. Is that true? Say, "Does John Phillips have anything
               to work with?" Joe says he's going to do a tell all book and there's all this information
               about how I was wrongly convicted.

James:         Yeah.

Eric:          What do they have to work with?

James:         Okay. So when Joe went to trial, okay. Joe had no defense. Joe's lawyers, they were
               public defenders, but those guys were in a courtroom every day. They couldn't present
               anything to clear Joe, none of this evidence that Joe claims he has now. Nobody's ever
               seen anything out of Joe other than false accusations. So I don't see anybody getting
               him out of jail.

Eric:          So tell me about who is John Phillips? John Phillips, I saw he was on some game show
               wearing some kind of pirate outfit. He looks like a publicity whore, a guy. Who is John
               Phillips? And say his name.

James:         John Phillips, my pretty much outtake on him in two words, ambulance chaser. All those
               ambulance chasers, they're on billboards everywhere. They got to get in the limelight
               and if this guy is not a criminal lawyer, Joe's case is so high profile. How's this guy just
               going to come in and save the day when I don't even know if he practices in a federal
               court, a criminal federal court. So I don't see anything happening.

Eric:          Well why did Don Lewis' family hire John Phillips. It seems crazy. On one side, he's
               representing the person Carole Baskin allegedly killed. Don Lewis, he's represent their
               family. Then he switches over to Joe Exotic, like John Phillips. And I think you should say
               that again. John Phillips is like the poster child of ambulance chaser. He goes from one...
               Or, "A poster child of publicity whore" Who's John Phillips?

James:         Okay. So John Phillips is just a big publicity whore. He goes from one thing to another,
               just he went to Carole Baskin, or, not Carole, the Carole Baskin case. That is going, I
               heard, nowhere. And now the lady that he's representing is afraid. She wants out of the
               lawsuit because if that lawsuit's thrown out, Carole is going to go after her. And Carole
               has the money to go after all these people. So I don't think Joe is going to get anywhere
               and ranting on social media, which Joe does everyday, and making accusations against
               federal agents, directors and things like that. That's going to get him nowhere.

Speaker 2:     Dad?

Brittany:      Can you just next to here and I'll grab my phone for you okay?


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Speaker 2:     No.

Brittany:      [inaudible] in his truck.

James:         Hey Jerry will you help them? They might be doing one of the jet-skis.

Speaker 2:     [inaudible].

Brittany:      Do you want to go sit next to me?

James:         I think they might want want the jet-skis.

Brittany:      You can sit over there and be on camera if you want to, next to me.

Speaker 2:     No.

Brittany:      Do you want to sit here with my phone?

Speaker 2:     I want to go in the car with it.

Eric:          Would you go talk to John Phillips?

James:         No, I won't go talk to John Phillips. I know where this is going and it's going to be more
               drama. And I'm not participating in that whatsoever.

Eric:          [inaudible].

Speaker 2:     Why is there, is your car, is your phone in there?

Brittany:      Huh?

Speaker 2:     Is it your phone in there.

James:         No, I won't participate in the John Phillips. That's going to go nowhere.

Brittany:      You can go play with it honey.

Speaker 2:     Over there, then there but I tried to get on.

Eric:          Tell me about your involvement with John Phillips.

James:         There is no involvement with John Phillips. I will not participate in that circus.

Eric:          So who's going to be able to help John Phillips in the case against Joe. Do you think John
               Phillips will be able to get an appeal for Joe?




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Brittany:      It's right here.

Eric:          Just talk to me about what's-

James:         Yeah. I don't think anything's going to help Joe. Too many things were said. He's so loose
               lipped. He's made all kinds of accusations that weren't true. I think what's going to
               happen possibly is Joe's going to get sued more while he's in jail.

Brittany:      Take it off bluetooth.

James:         Because I will probably be one to sue him pretty soon for defamation. I've had enough.

Eric:          Why is Joe right now throwing everyone under the bus including me.

Brittany:      It's just powder from the rocks here.

Eric:          Joe called, and you can say this, Eric Goode a pedophile, a sexual predator.

Brittany:      I'll be right back. Okay?

Eric:          He's just lashing out, he's just calling people. Why is Joe throwing you under the bus, me
               under the bus, he's like a spoiled child. Tell me about Joe in prison.

James:         So Joe in prison is just in there having a temper tantrum. That's what he's doing. He's
               accusing Eric Goode of being a pedophile. He's accusing Matt Bryant of sleeping with
               underage girls in his police vehicle or his government truck. And he's just making all
               these crazy accusations, just every day.

Eric:          Can you say that again? But say he's accusing the undercover agent because people
               don't know who Matt Bryant is. Say, a federal undercover agent. Say he's accusing Eric
               Goode. Say that again.

James:         Okay. So basically Joe is accusing everybody of doing different things. Like Eric Goode,
               he's saying he's a pedophile, Matt Bryant, the US Fish and Wildlife agent. He's saying
               that he's sleeping with underage girls in his government vehicle. He's made all these
               accusations against people and he continues every day to do it. And he's accusing me of
               using his Tiger King name, which I don't even own tigers anymore. So why would he do
               that? But-

Eric:          How harsh are the fans, the haters, that are pro-Joe against you guys and your family
               and James, just talk to me about what does that, Joe's fans do to you guys. Say Joe's fan
               club or Joe's crazy-

James:         I don't share a lot of that stuff with her, like the threats and the Instagrams and stuff. So
               she's-

Eric:          Are you aware of it at all Brittany.


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Brittany:      I'm pretty sure they're there, but he doesn't really share too much about that.

Eric:          Joe repeatedly makes accusations from jail that Jeff is involved with human trafficking
               and he said it before. Do you think there's anything to those accusations. Just because
               Jeff, tell me about Joe's accusations. Say Joe's accusations that Jeff was involved in
               human trafficking were what.

James:         No. So, yeah. Jeff, I mean, I don't like Jeff Lowe. But this, I'll defend them here. All the
               accusations that Joe's making about sex trafficking and stuff is not happening. If
               anybody's getting exploited, it's probably Jeff Lowe because they hang out at strip bars
               all the time. So they're probably the victim and not-

Eric:          The music?

Speaker 3:     Sorry. You look so pretty.

Brittany:      Thank you.

Speaker 3:     In about 20 minutes, it's getting really awkward awful quiet in there.

Eric:          Okay. Yeah, yeah. We'll be done.

James:         Music, they want?

Speaker 3:     All right.

Eric:          We'll be done.

James:         Okay.

Eric:          So just say that all the accusations that Joe makes against Jeff Lowe about human
               trafficking is not true. All the accusations that Joe makes-

James:         Yeah. Pretty much all the accusations that Joe makes on the sex trafficking and stuff. It's
               all garbage. He's accused everybody and he's provided no proof. Joe's told everybody
               that he has all this proof and Dylan has all this proof. Nobody's seen anything. And it's
               getting pretty old. So I don't see anybody helping Joe, because I think he's his own worst
               nightmare because he can't keep his mouth shut.

Eric:          Say that one more time but say all the accusations against Jeff Lowe for human
               trafficking from Joe is bullshit. But you have to say Jeff Lowe.

James:         Yeah. All the accusations that Joe's making about Jeff Lowe and the human trafficking is
               all bullshit.

Eric:          That would mean he would-



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                                       PART 3 OF 4 ENDS [01:12:04]

James:         That would mean he would have money, so, no.

Eric:          What did you think of Joe's attorneys, Francisco and Eric Love, and the whole part of the
               campaign? And, just what was that, another publicity stunt, right? Just tell me, Francisco
               and Eric Love, what was the whole...

James:         Yeah, the whole thing with Francisco and Eric Love, and the Joe Case, it was a circus, it
               was basically a circus without animals. The limo stunt, the jets with Joe's picture on
               them, it was all way overboard, putting words in Trump's mouth, I mean, it was
               laughable.

Eric:          And, what do you think about this video announcement that John Phillips produced,
               that he's now representing Joe? He made this giant publicity stunt, could you just speak
               to that?

James:         No, I've seen the video.

Eric:          So, say, "John Phillips..."

James:         So, John Phillips made a video-

Eric:          Say it again.

James:         Okay. So, John Phillips made a video, announcing that he's going to meet with Joe, at a
               federal prison with the prison in the background, and that he decided that, "I've decided
               to take Joe on as a client, and get him a new trial." And, how I understand, it's hard to
               get a new trial, so I don't know if a personal injury lawyer, in the history of America, has
               ever gotten somebody free from federal prison for murder-for-hire charges, that'd be
               one to look into.

Eric:          How do you think this is going to play out for, Joe?

James:         Once the attention goes away, the attorney will go away.

Eric:          Let's say, "Once the attention around the case-"

James:         So, once the attention of the case goes away, which, it's dwindling down to nothing, Joe
               has less and less clout every day of the week. I think his last Twitter post had like 60 or
               70 likes on it. So, people are tired of all the [inaudible] allegations, that Joe's making.

Eric:          And, what's going to happen with you, James, maybe tell us about what your future is
               going to be, what are you hoping for? Are you hoping Tiger King is behind you? Joe, all
               this crazy shit?




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James:         Well, I don't want to deal with all the psychotic, Joe Exotic followers, the people that
               don't know the real him. I don't want to deal with those people, those people make
               complaints on your business and harass you, write false reviews. Our jet ski business
               never had a bad review until Tiger King, now, people are claiming there's sardine oil on
               the seats.

Brittany:      This is whenever we were shut down, the coal keys was shut down, so you couldn't even
               have customers even if you wanted to.

James:         So, my business has to suffer because of coups like Joe Exotic and Carole Baskin,
               claiming there's sardine oil on the seats and all this other bullshit.

Eric:          Brittany, I'm going to ask you again, I know I asked you before, but what would you have
               shared as a witness on Joe's trial, let's say you had to testify, what would you have said?
               If you could say, "If I did testify at Joe's trial, I would say this." "If I did testify..."

Brittany:      If I had to testify at Joe's trial, I mean, I don't believe that he's super innocent of
               everything, I mean, I've never been on trial, so I don't know what you're allowed to say
               or how you say it, but I do know that I would have offered my opinion that, I just don't
               believe that he should have been the only one that got taken down.

Eric:          But, wouldn't you also have shared that you over heard... If you could say, "If I had been
               allowed to testify at Joe's trial, I would have talked about how I heard of Jeff Lowe and
               Lauren..."

Brittany:      Yes. If I would have testified at Joe's trial, I would have given them the facts that, I was
               present in the room, that Joe was barely in the conversation when Jeff Lowe, was
               Google earthing, Carole Baskin's property and the best areas or positions to kill her was,
               yes. I would have definitely...

Eric:          And, how does it feel carrying this information, that you had a role in putting Joe away
               for life, how do you feel about that? What do you think the appropriate sentence should
               be for Joe [inaudible]?

James:         I don't think she had a role in it, I think she was just at the wrong place-

Eric:          Who's she?

James:         Oh. So, I don't think Brittany had a role in it, I think she was at the wrong place at the
               wrong time. I think she was driving that day, she didn't go into that position knowingly,
               she didn't know that, when we went to Joe's office, we were going to talk about killing a
               woman down in Tampa, so she kind of got drug into that.

Brittany:      Yeah. I don't even think I ever met Jeff or Lauren, and I barely knew Joe, at the time.

Eric:          If there is any evidence that was left out of Joe's trial, James, what would it have been?
               Can you speak of any specific evidence? Why wasn't Ashley Webster interviewed? If


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               there was anything, do you think there was any evidence that was left out of Joe's trial,
               James?

James:         I mean, I'm sure there was a hundred people left out of it. I mean-

Eric:          Let's say, "I'm sure there's [inaudible]."

James:         Okay. So, I'm sure there's people left out of Joe's trial, because obviously at trial, they
               don't want anybody to go in there and say good things about Joe, so they probably
               picked the worst case scenarios and went with it. But, Ashley Webster, I heard that
               name a few times but I've never met that person. And, I was there most of the time, so I
               met most of the people that worked at the park.

Eric:          But, do you think there was any special evidence that was omitted from the trial that
               could have helped Joe? Do you think there's any... From the defense side-

James:         I'm sure. But, the defense-

Eric:          Say that, "I'm sure there's..."

James:         Okay. I'm sure there was evidence that was left out at Joe's trial, but to me, it was just
               an ass kicking conviction. The US attorney pretty much got her way over those other
               attorneys.

Brittany:      But, Joe, was also there for all the cruelty to animals too, it's not just for the murder-for-
               hire, but I felt like, once they had the murder-for-hire, it was going to be a goldmine for
               them.

James:         So, in my opinion, when Joe was at trial, they should have put the cases separately, the
               wildlife trafficking and the murder-for-hire, people are really sympathetic to animals,
               more sympathetic than to people, most people, and definitely more than Carole Baskin.
               So, when they were talking about, they should have separated the cases, but I think Joe
               was already guilty, from day one, when they started showing the pictures of the dead
               tigers and stuff, I think he was already cooked. So, the murder-for-hire was just kind of
               gravy. That's my opinion.

Eric:          Well, remember, there's never been a wildlife crime in this country with a sentence of
               over six years, the murder-for-hire is what made the 22 years. Animal crimes, smuggling
               crimes, the biggest sentence ever, was like five or six years, that was a big sentence. So,
               what made him get 22 years wasn't the animal crimes, you understand?

James:         Yeah.

Brittany:      That's what I believe, I believe that they had the murder-for-hire, the government, just
               to make sure that he got sentenced and put away. I mean, I don't work for the
               government, I don't know how everything works, but, I mean, he should be in trouble
               for the crimes he committed on animals, of course.


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James:         I think, in my opinion, that the Allen Glover case, the murder-for-hire should have been
               thrown out, because there was too many close relationships, Joe hated Allen Glover,
               they were always fighting. So, somebody had to fix that relationship with Joe and Allen,
               because I was there the day that Joe was just cussing Allen out because he wasn't
               running the weed-eater right. And then, when we came back out of the office, he was
               sitting on the picnic table and telling him how worthless and shit he was. So, there's a
               lot that went on behind the scenes that never came to light.

Eric:          But, come on, who would that person be, that would have set that up? Come on.

Brittany:      The only other person that knows Joe-

James:         The only other person close to Allen Glover. There you go. Jeff Lowe.

Eric:          So, at this point, because you've been on both sides of this world, as have I, do you think
               the Department of Justice, or people like Joe and Jeff are worse? Who's more corrupt,
               the Department of Justice? If you think about it, the Department of Justice can fuck you
               over. Who's worse? And, say that, if you were to ask yourself, who's more corrupt, do
               you think Jeff and Joe or the Department of Justice? If you could set that up.

James:         So, if you're asking me, who's more corrupt, the Department of Justice or people like Joe
               or Jeff, I would put it both equally. But, the government is pretty harsh, they can come
               at you, and you can't... If Joe, had the best lawyer in trial, I think he would've still got the
               same deal because that animal stuff really plays with people's heartstrings.

Eric:          And, when Francisco or John Phillips talks about, there's witnesses that should've
               testified at Joe's behalf, like [Tim Stark] and [John Rankie], what would have Tim Stark...
               And say, "Tim Stark said..." What would have Tim Stark done to help Joe understand?
               Tim Stark, is not exactly credible with all the shit he's done.

James:         So...

Brittany:      All the other animal owners that could have been witnesses would have portrayed
               themselves just as guilty as him.

James:         Okay. Joe, could have called anybody he wanted at trial. Joe, chose to call a PETA
               attorney. Why didn't he call [Rankie]? Why didn't he call Stark? Why didn't he call the
               vet, Doc Green? Why didn't he call all these people that he was in bed with? So, none of
               it made sense to me.

Eric:          Why didn't he call, Tim Stark?

James:         I don't know.

Eric:          Do you think Tim Stark would have made a good witness? Say, "Tim Stark..."




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James:         I think, Tim stark, would have went on a crazy rant, and, "Motherfuck this and
               motherfuck that." I mean, I think he would have destroyed Joe, even worse.

Eric:          What is the Brady violation? Was it used to manipulate the case? What is a Brady
               violation?

James:         It's hard for me to explain, but I think, a Brady violation is when something that the
               government knows is not presented to the defense. And, I think that is a Brady violation.

Eric:          And, could you say that maybe there was a Brady violation?

James:         Maybe there was a Brady violation or two, overlooked, but you're going to have to go to
               a good, really good appellate attorney, and stay away from the media hounds, because I
               think the media is hurting his case more than helping it anyway.

Eric:          What's more important to you, giving Joe, a computation, letting Joe out of prison or
               convicting Carole Baskin, for the murder of Don Lewis? If you could set that up. If you
               had turns of justice in this world, what's more important to you, James, putting Carole
               behind bars because of her maybe getting away with murder of Don Lewis, or
               commuting or freeing Joe? Start it by saying, "Justice for me would be..." What?

James:         Okay. Justice for me would be, having a real investigation into Carole Lewis or Carole
               Baskin or Carole Stares or whatever her name is, these days. Would be investigating all
               that fraud and everything that went on in Carole's world, but it seems like the Sheriff's
               not even interested in it, but he was definitely interested in doing interviews because of
               the Tiger King series, or the Tiger King show. But, if they commuted Joe's sentence, I
               think he's done enough time, and I think it would be fair. I mean, as much as I did
               despise the guy and all the evil things he's done, nobody wants to die and should
               deserve to die in prison.

Eric:          So, what's more important to you? If you could say it more to sound like, "What's more
               important to me, is for Joe, to maybe get out of prison after a few years, but for Carole
               Baskin to be really thoroughly investigated and maybe put in prison." What's the more-

James:         Okay. What was the first...

Eric:          What's more important to you? Is it Carole Baskin, convicted of a crime or...

James:         So, what would be more important to me, in this whole saga, is Joe, to do probably
               mean or maybe four or five more years, let him out, let him live his life, with restrictions
               that he can't touch another animal, and he can't possess a license and all that stuff,
               that'd be great. And then, to have that woman, Carole Baskin, down in Tampa, fully
               investigated, by an outside agency, because we know the sheriff and all of them aren't
               going to do their jobs, because they're not digging. So, I think that would be fair, equal
               justice. But, it's sad these days, that people with a lot of money can walk out of a lot of
               things.



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Eric:          If you had to guess, your instincts, your intuition, who killed Don Lewis? And, if you had
               to guess, did Joe, really try to kill Carole Baskin,? What's justice to you, in a simple
               [crosstalk].

James:         Okay. So, in my opinion, on Carole Baskin, [crosstalk] I definitely think she was involved,
               in my opinion, she was definitely involved with the disappearance of Don. I don't know
               who shot the gun, the knife, fed him to the tiger, shoved him in the septic tank, I don't
               know. But, she needs to be investigated because she's done a lot of things, she violates
               laws every week, with the harassment and the bullying of people in the animal business.
               It's called the Animal Enterprise Terrorism Act, it's to prohibit people like Carole from
               hurting a business, from making a living. She does this all the time, she bullies
               everybody.

Eric:          So, say to me, "In my opinion, Joe should get freed after a few years," that, "Probably
               Carole Baskin should go to jail." But, just say it in a simple...

James:         Okay. So, very simple, in my opinion, I think Joe ought to serve a few more years, let him
               out, and then somebody needs to go down to Tampa, Florida, and investigate Carole
               Baskin, for all the stuff that she's done and all the crimes I think she's committed.

Eric:          Do you ever feel unsafe about speaking out or being involved in this story? Brittany, do
               you ever feel unsafe about, just all that's gone down, with Tiger King and the after
               effects? And just say, "After Tiger King came out..."

Brittany:      After Tiger King came out, it's not that I don't feel safe, it's just, a lot of publicity has
               been circling around, James to do to it. They don't really know him personally, so, I just
               feel like, if everybody's going to judge people, they should probably get to know them
               before they start judging people. And, he doesn't really tell me too much about any
               threats or stuff like that, because if I did hear about it, I'd probably would not be sitting
               here right now, just because... I don't know.

James:         I woke up with 15 Instagram messages this morning, about, what a piece of I was, for
               turning on Joe, because he's innocent. He has a lot of these people convinced that he is
               innocent, and no one will look into it.

Eric:          Why do so many people think that Kool-Aid, in respect of Joe, why do so many people
               think, without any evidence, why do people... Would you said that, that people drink
               the Kool-Aid?

James:         Yeah. Everybody drinks the Kool-Aid, look at Carole Baskin, she has millions of followers
               giving her money, when she's worth millions and millions and millions of dollars. And
               then Joe, everybody, since he's been on this docuseries, thinks he's some kind of action
               hero. And, everybody calls him the tiger King, and he's a tiger murderer. He's not
               somebody that's nice to animals.

Eric:          And, James, there was the potential of being [inaudible] by Donald Trump, and you say
               he might be released in four or five years, but would you fear for your life or would you


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               worry, if Joe got out of prison? I would kind of... What's Joe capable of, if he got out of
               prison? Okay, he can't keep animals, so, would he seek from people like me or you?

James:         No, because if Joe was that type of person, he would have went down there to Carole
               and took care of her?

Eric:          So, say that, if he gets out of prison, how would you feel? Set that up.

James:         Okay, so, if Joe got out of prison, I mean, I wouldn't worry for my life or anything
               because obviously, he couldn't take care of Carole, so I'm not really worried about him
               being violent. And, the only type of things he can shoot, is animals that are in a cage, so,
               I'm not worried about that. I mean, I do get worried sometimes, about these cultish
               followers, that think he's some kind of super hero.

Eric:          Do you think the undercover agent, let's call him the undercover agent, is worried about
               what maybe, John Phillips will discover in deposits, or if Jeff Lowe, really has recordings
               of the undercover agent? Do you think there's any chance that the undercover agent
               involved in Joe's case is worried?

James:         No. I mean, the undercover agent, in my understanding, that he gets harassed by the
               followers, people making complaints against them and stuff. But, I don't see anything
               that he's done that's unethical. I mean, he has to befriend people to get them people to
               flip, and play the friendly card, that's his job. But, I don't think there's anything
               inappropriate with him.

Eric:          Anything else do you guys want to say about this whole story? And, just how much more
               you want to be involved?

James:         Yeah. I mean, if I had to do this whole thing over again, with you and everybody, I would
               have never done it again, because I thought I was doing the right thing, and then you're
               persecuted by everybody for doing that. And, I don't know how these people like Doc
               Antle, Joe, Carole, manipulate these people to do these stupid things. Joe's said so many
               outrageous allegations, how can anybody believe anything he says? And, these people
               do.

Eric:          Do you want to say anything about, Paul Malagerio? Who's Paul Malagerio, Brittany?

James:         Okay. You let her do that.

Brittany:      No.

James:         Here, I'll do it real quick. So, Paul Malagerio is a drifter that goes from animal facility to
               animal facility. He's caused problems with everybody, he came to our house, made our
               lives miserable, then had the audacity to tell somebody on our recording that they were
               going to chop my son up and mail me parts of him if I ever fired him. So, he was
               blackmailing us. And then, every place he's been he's been a problem. He's not legal



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               being here. He claims he used to be a hitman and he was all this, just a total piece of
               shit. That's all I'm going to solve of that.

Brittany:      He should not own any animals himself either.

James:         That guy is cuckoo.

Eric:          How are you guys, I think were good.

James:         All right. [crosstalk], hey, Patrick, will you tell them to turn the music back on?

Eric:          So, you guys can walk away, you're just going to get [inaudible] for a minute, but if you
               want to...

Speaker 4:     [inaudible] stay there [inaudible].

Eric:          Okay, just stay there for a minute, sorry. 20 seconds. (silence).

Brittany:      Did you want to get cash in any of that?

James:         No, he's all right.

Brittany:      Yeah. He doesn't want to anyways.

James:         Well, he does not really want do it.

Brittany:      No.

Eric:          [inaudible] we're good.

Brittany:      All right.

Eric:          Okay. [inaudible] in there for one second, because I need to get a portrait of the two of
               you. But, take a break for a second, I'm just going to get a portrait [inaudible].

James:         Patrick, what do we got booked?

Eric:          I'll be right there with you guys.

Patrick:       All right.

Eric:          All right. What do we got booked? You tried to phone...

                                      PART 4 OF 4 ENDS [01:33:25]




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